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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                             CASE NO.:

 JESUS GONZALEZ

        Plaintiff,
 v.

 LA CAPITAL DE LOS JUGOS, LLC,
 d/b/a La Capital de los Jugos.

        Defendants.
                                                            /

                           COMPLAINT FOR INJUNCTIVE RELIEF

        Plaintiff, Jesus Gonzalez, by and through the undersigned counsel, hereby sues

 Defendant, La Capital de los Jugos, LLC, doing business as, La Capital de los Jugos, for

 injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the Americans with Disabilities Act

 (“ADA”) and 28 C.F.R. Part 36 and alleges:

        1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

 Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is vested with

 original jurisdiction under 28 U.S.C. §1331.

        2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all events

 giving rise to this lawsuit occurred within the Southern District of Florida and the subject

 premises is located within the jurisdiction of this Court.

        3.      Plaintiff, Jesus Gonzalez (“Plaintiff”) is a resident of the state of Florida. Plaintiff

 has a “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

 due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

 U.S.C. § 12102(1)(A)(2), 28 C.F.R. § 36.105(b)(2) and 28 C.F.R. § 36.105(2)(iii)(D).



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        4.      Plaintiff is also an advocate of the rights of similarly situated disabled persons,

 and a “tester” for the purpose of asserting his civil right, and to determine whether public

 accommodations are in compliance with the ADA/ADAAG.

        5.      Defendant, La Capital de los Jugos, LLC, is authorized to, and is conducting

 business in the State of Florida and within this Court jurisdiction,

                                               FACTS

        6.      Defendant, La Capital de los Jugos, LLC, is a Florida Limited Liability Company,

 which owns and operates a restaurant branded “La Capital de los Jugos”, a place of public

 accommodation. Defendant’s restaurant is located at 2401 SW 122 Avenue, Miami FL 33175,

 and open to the general public. As such, it is a Place of Public Accommodation subject to the

 requirements of Title III of the ADA and its implementing regulation as defined by 42 U.S.C.

 §12181(7)(B), §12182, and 28 C.F.R. §36.104(2). Defendant’s restaurant is also referenced

 throughout as “place of public accommodation,” “La Capital de los Jugos” or “Restaurant.”

        7.      As the owner/operator of a restaurant which is open to the public, Defendant, La

 Capital de los Jugos, LLC, is defined as a “Public Accommodation" within meaning of Title III

 because it is a private entity which owns, or operates a restaurant; 42 U.S.C.

 §12182, §12181(7)(B) and 28 C.F.R. §36.104(2).

        8.      On April 7, 2023, Plaintiff personally visited the restaurant to purchase a meal

 and dine therein and to test for compliance with the ADA/ADAAG.

        9.      Due to the fact that he perambulates with the assistance of a wheelchair, Plaintiff

 met barriers to access while testing/dining within the restaurant.

        10.     Based on the access impediments Plaintiff encountered, Plaintiff has been denied

 full and equal access by the operator of “La Capital de los Jugos” restaurant.




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        11.     As the owner and operator of “La Capital de los Jugos” restaurant, and “Public

 Accommodation". Defendant, La Capital de los Jugos, LLC, is aware of the ADA and the need

 to provide for equal access in all areas of its restaurant. Therefore, its failure to reasonably

 accommodate mobility impaired and disabled patrons by ensuring that its restaurant is fully

 accessible is/was willful, malicious, and oppressive and in complete disregard for the Civil

 Rights of the Plaintiff and in violation of 28 C.F.R. §36.302.

        12.     As a result of Defendant’s discriminations, Plaintiff has suffered loss of dignity,

 mental anguish and other tangible injuries and has suffered an injury-in-fact.

        13.     Plaintiff continues to desire to patronize and/or test the “La Capital de los Jugos”

 restaurant but continues to be injured in that he continues to be discriminated against due to the

 barriers to access within that restaurant which are in violation of the ADA.

        14.     Any and all requisite notice has been provided.

        15.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

 Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

 cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

 costs and expenses from Defendant pursuant to 42 U.S.C. §12205.

                   COUNT I – VIOLATIONS OF TITLE III OF THE ADA

        16.     The ADA was enacted and effective as of July 26, 1990, and ADA legislation has

 been protecting disabled persons from discrimination due to disabilities since that time. Over 30

 years have passed since enactment of the ADA, public accommodations and places of public

 accommodation have had adequate time for compliance.

        17.     Congress explicitly stated that the purpose of the ADA was to:

        (i)     provide a clear and comprehensive national mandate for the elimination
                of discrimination against individuals with disabilities;



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        (ii)     provide clear, strong, consistent, enforceable standards addressing
                 discrimination against individuals with disabilities; and,

        (iii)    invoke the sweep of congressional authority, including the power to
                 enforce the fourteenth amendment and to regulate commerce, in order to
                 address the major areas of discrimination faced on a daily by people
                 with disabilities.

                42 U.S.C. §12101(b)(1)(2) and (4).

        18.     Prior to the filing of this lawsuit, Plaintiff personally visited the “La Capital de los

 Jugos” restaurant with the intention of patronizing that restaurant to enjoy a meal and/or test the

 public accommodation for compliance with the ADA/ADAAG; however, Plaintiff was denied

 adequate accommodation because, as a disabled individual who utilizes a wheelchair for

 mobility, Plaintiff met barriers to access. Therefore, Plaintiff has suffered an injury in fact.

        19.     Defendant, La Capital de los Jugos, LLC, has discriminated (and continue to

 discriminate) against Plaintiff by denying full and equal access to, and full and equal enjoyment

 of, goods, services, facilities, privileges, advantages and accommodations at the “La Capital de

 los Jugos” restaurant in derogation of 42 U.S.C. §12101 et seq. and as prohibited by 42 U.S.C.

 §12182 et seq, by failing to remove barriers to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv),

 where such removal is readily achievable.

        20.     Plaintiff has been unable to, and continues to be unable to, enjoy full and equal

 safe access to, and the benefits of, all the accommodations and services offered at the “La Capital

 de los Jugos” restaurant.

        21.     Defendant is governed by the ADA and must comply therewith. However,

 Defendant has discriminated against disabled patrons in derogation of 28 C.F.R. Part 36.

        22.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as amended),

 the Department of Justice, Office of the Attorney General, promulgated Federal Regulations to




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 implement the requirements of the ADA, known as the Americans with Disabilities Act

 Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said

 Department may obtain civil penalties of up to $75,000 for the first violation and $150,000 for

 any subsequent violation.

         23.    Defendant, La Capital de los Jugos, LLC., is in violation of 42 U.S.C. §12181 et

 seq., the ADA and 28 C.F.R. §36.302 et seq., and discriminating against the Plaintiff as a result

 of inter alia, the following specific violations:

 Exterior Seating Area

   i     The seating provided at the facility does not comply with the standards prescribed in

         Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

         resolution is readily achievable.

   ii    The facility does not provide the required amount of seating. Failing to provide sufficient

         amount of seating when dining surfaces are provided for the consumption of food or

         drinks for person(s) with a disability in violation of section 5.1 of the ADAAG and

         Sections 226 of the 2010 ADA Standards.

 Exterior Counter

   iii   The counter is mounted above the required height. Violation: Counter is mounted over

         36” above the finished floor violating Section 7.2 of the ADAAG and Section 904.4.1 of

         the 2010 ADA Standards, whose resolution is readily achievable.

 Interior Seating Area

   iv    The seating provided at the facility does not comply with the standards prescribed in

         Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

         resolution is readily achievable.




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   v     The facility does not provide the required amount of seating. Failing to provide sufficient

         amount of seating when dining surfaces are provided for the consumption of food or

         drinks for person(s) with a disability in violation of section 5.1 of the ADAAG and

         Sections 226 of the 2010 ADA Standards.

 Men’s Accessible Restroom

   vi    The plaintiff had difficulty opening the door without assistance, as it does not have the

         required door pressure. Violation: Door has a non-compliant opening force. Section

         4.13.11 of the ADAAG and 404.2.9 of the 2010 ADA Standards, whose resolution is

         readily achievable.

   vii   The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: The lavatory bottom supply and/or drainpipes are not fully wrapped

         or maintained due to the lack of maintenance violating Section 4.19.4 of the ADAAG and

         Section 606.5 of the 2010 ADA Standards, whose resolution is readily achievable.

   viii The plaintiff had difficulty using the mirror, as it is mounted too high. Violation: The

         mirror provided in the restroom is in violation of the requirements in Section 4.19.6 of

         the ADAAG and Section 603.3 of the 2010 ADA Standards, whose resolution is readily

         achievable.

   ix    The plaintiff could not transfer to the toilet without assistance, as the required clear floor

         space was not provided due to an encroaching item (Trash can). Violation: The trash bin

         is encroaching over the accessible water closet clear floor space. Section 4.16.2 of the

         ADAAG and Sections 604.3.1 of the 2010 ADA Standards, whose resolution is readily

         achievable.




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   x     The plaintiff could not transfer to the toilet without assistance, as the rear wall grab bar is

         mounted at a non-compliant distance from the side wall. Violation: Water closet rear wall

         grab bar is mounted at a non-compliant distance from centerline of the water closet to the

         centerline of its inner flange. Sections 4.16.4 of the ADAAG and Sections 604.5.2 of the

         2010 ADA Standards, whose resolution is readily achievable.

   xi    The plaintiff could not transfer to the toilet without assistance, as the rear wall grab bar

         does not have the required clearance. Violation: The paper towel dispenser is mounted

         over the rear wall grab bar at the wrong height not providing the required clearance.

         Section 609.3 of the 2010 ADA Standards, whose resolution is readily achievable.

   xii   The plaintiff could not transfer to the toilet without assistance, as the side wall grab bar is

         mounted at a non-compliant distance from the back wall Violation: Water closet side wall

         grab bar is mounted at a non-compliant distance from rear wall. Sections 4.16.4 of the

         ADAAG and Sections 604.5.1 of the 2010 ADA Standards, whose resolution is readily

         achievable.

   xiii The plaintiff could not use the toilet tissue dispenser without assistance, as it is not

         mounted at the required location. Violation: The toilet tissue dispenser is not mounted in

         accordance with Section 4.16.6 and Figure 29 of the ADAAG and Section 604.7 of the

         2010 ADA Standards, whose resolution is readily achievable.

   xiv The plaintiff had difficulty opening the door, as the cabinet inside the restroom is

         encroaching the maneuvering clearance on the door. Violation: Cabinet encroaches over

         the required maneuvering clearance on the pull side of the door. Sections 4.13.6 of the

         ADAAG, Sections 404.2.4 of the 2010 ADA Standards and section 28 CFR 36.211,

         whose resolution is readily achievable.




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        WHEREFORE, Plaintiff, Jesus Gonzalez hereby demands judgment against Defendant,

 La Capital de los Jugos, LLC, d/b/a La Capital de los Jugos, and requests the following

 injunctive and declaratory relief:

        a) The Court declare that Defendants have violated the ADA;

        b) The Court enter an Order directing Defendant to evaluate and neutralize their

            policies, practices and procedures toward persons with disabilities,

        c) The Court enter an Order requiring Defendant to alter the “La Capital de los Jugos”

            restaurant located therein such that it becomes accessible to and usable by individuals

            with disabilities to the full extent required by the Title III of the ADA;

        d) The Court award reasonable costs and attorney’s fees; and

        e) The Court award any and all other relief that may be necessary and appropriate.

        Respectfully submitted on this May 30, 2023.

                                               By: /s/ J. Courtney Cunningham
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